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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


IN RE: TAXOTERE (DOCETAXEL)                        MDL NO. 2740
PRODUCTS LIABILITY LITIGATION
                                                   SECTION “H” (5)

THIS DOCUMENT RELATES TO:                          HON. JANE T. MILAZZO

Tomelia L. Hunt

 v.

Sanofi US Services Inc. f/k/a Sanofi-
Aventis U.S. Inc.l , Sanofi US Services
Inc. f/k/a Sanofi-Aventis U.S. Inc. EDLA
No. 2:20-cv-1703


       [EXEMPLAR] SHORT FORM COMPLAINT (Effective as of May 13, 2020)1
       Plaintiff(s) incorporate by reference the Second Amended Master Long Form Complaint
and Jury Demand filed in the above referenced case on September 27, 2018 (Doc. 4407).
Pursuant to Pretrial Order No. 15, this [Original/Amende d] Short Form Complaint adopts
allegations and encompasses claims as set forth in the Second Amended Master Long Form
Complaint against Defendant(s).
       Plaintiff(s) further allege as follows:
1.     Plaintiff:
           Tomelia Hunt


2.     Spousal Plaintiff or other party making loss of independent/secondary claim (i.e., loss of
       consortium):


3.     Other type of Plaintiff and capacity (i.e., administrator, executor, guardian, conservator):


4.     Current State of Residence:       Indiana
5.     State in which Plaintiff(s) allege(s) injury:   Indiana


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1
 This version of the Short Form Complaint supersedes all prior versions of the formpursuant to Pretrial Order No.
73A. This Court-approved version of the Short Form Complaint is available on the Court’s Taxotere webpage and
through MDLCentrality.




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6.   Defendants (check all Defendants against whom a Complaint is made):
             a.      Taxotere Brand Name Defendants
                              A.    Sanofi US Services Inc. f/k/a Sanofi-Aventis U.S. Inc.
                              B.    Sanofi-Aventis U.S. LLC
             b.      Other Brand Name Drug Sponsors, Manufacturers, Distributors
                              A.    Sandoz Inc.
                              B.    Accord Healthcare, Inc.
                              C.    McKesson Corporation d/b/a McKesson Packaging
                              D.    Hospira Worldwide, LLC f/k/a Hospira Worldwide, Inc.
                              E.    Hospira, Inc.
                              F.    Sun Pharma Global FZE

                              G.    Sun Pharmaceutical Industries, Inc. f/k/a Caraco
                                     Pharmaceutical Laboratories Ltd.
                              H.    Pfizer Inc.
                              I.    Actavis LLC f/k/a Actavis Inc.
                              J.    Actavis Pharma, Inc.
                              K.    Sagent Pharmaceuticals, Inc.
                              L.    Other:




7.   Basis for Jurisdiction:
            Diversity of Citizenship
            Other (any additional basis for jurisdiction must be pled in sufficient detail as
             required by the applicable Federal Rules of Civil Procedure):




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8.    Venue:

      District Court and Division in which remand and trial is proper and where you might
      have otherwise filed this Short Form Complaint absent the direct filing Order entered by
      this Court:


       Untied States District Court for the Southern District of Indianapolis



9.    Brand Product(s) used by Plaintiff (check applicable):
              A.    Taxotere
              B.    Docefrez
              C.    Docetaxel Injection
              D.    Docetaxel Injection Concentrate
              E.    Unknown
              F.    Other:




10.   First date and last date of use (or approximate date range, if specific dates are unknown)
      for Products identified in question 9:


       Started on or around 3/30/2012 and concluded on or around 4/27/2012



11.   State in which Product(s) identified in question 9 was/were administered:



          Indiana




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12.   Nature and extent of alleged injury (including duration, approximate date of onset (if
      known), and description of alleged injury):




          Ms. Hunt was made aware of her permanent hair loss due to Taxotere upon seeing
          a commercial from our firm and contacting on June 14, 2018. Hair loss is evident to
          have occured post-administration of Taxotere and Ms. Hunt struggles to grow hair
          back on certain areas of her body.




13.   Counts in Master Complaint brought by Plaintiff(s):
              Count I – Strict Products Liability – Failure to Warn
              Count III – Negligence
              Count IV – Negligent Misrepresentation
              Count V – Fraudulent Misrepresentation
              Count VI – Fraudulent Concealment
              Count VII – Fraud and Deceit

              Other: Plaintiff(s) may assert the additional theories and/or State Causes of
               Action against Defendant(s) identified by selecting “Other” and setting forth such
               claims below. If Plaintiff(s) include additional theories of recovery, for example,
               applicable state law or state consumer protection claims, the specific facts and
               allegations supporting additional theories must be pleaded by Plaintiff in
               sufficient detail as required by the applicable Federal Rules of Civil Procedure.




14.   Name of Attorney(s), Bar Number(s), Law Firm(s), Phone Number(s), Email Address(es)
      and Mailing Address(es) representing Plaintiff(s):




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                  By:




                        ___________________________
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